Case 2:22-cv-07957-FLA-MAA Document 83-2 Filed 02/27/23 Page 1 of 4 Page ID #:578




    1 DELMAR S. THOMAS (SBN 210825)
       dthomas@yukelaw.com
    2 JUSTIN M. MARVISI (SBN 294498)
       jmarvisi@yukelaw.com
    3 OLIVIA H. KIM (SBN 322535)
       okim@yukelaw.com
    4 YUKEVICH | CAVANAUGH
      355 S. Grand Avenue, 15th Floor
    5 Los Angeles, California 90071-1560
      Telephone: (213) 362-7777
    6 Facsimile: (213) 362-7788
        Email:       eservice@yukelaw.com
    7
      Attorneys for Specially Appearing Defendant
    8 RCI HOSPITALITY HOLDINGS, INC.
    9                         UNITED STATES DISTRICT COURT
   10                       CENTRAL DISTRICT OF CALIFORNIA
   11
   12 JULIA HUBBARD and KAYLA                        CASE NO. 2:22-cv-7957
      GOEDINGHAUS,
   13                                                [PROPOSED] ORDER GRANTING
               Plaintiffs,                           DEFENDANT RCI HOSPITALITY
   14      vs.                                       HOLDINGS, INC.’S MOTION TO
                                                     DISMISS FOR LACK OF
   15 TRAMMELL S. CROW, JR., DR.                     PERSONAL JURISDICTION, OR
      BENJAMIN TODD ELLER, RICHARD                   IN THE ALTERNATIVE, MOTION
   16 HUBBARD, DR. MELISSA MILLER,                   TO DISMISS FOR FAILURE TO
      DR. JOSEPH BOLIN, DR. SCOTT                    STATE A CLAIM [DKT. 83 ]
   17 WOODS, DR. MRUGESHKUMAR
      SHAH, MICHAEL CAIN, COE                        Date: April 7, 2023
   18 JURACEK, PHILIP ECOB, H.J. COLE,               Time: 1:30 p.m.
      TEXAS RANGER CODY MITCHELL,                    Dept: 6B, 6th Floor
   19 KURT KNEWITZ, PAUL
      PENDERGRASS, RALPH ROGERS,                     Assigned to: Hon. Judge Fernando L.
   20 ROBERT PRUITT, SCOTT BRUNSON,                  Aenlle-Rocha
      CASE GROVER, RICHARD BUTLER,
   21 MARK MOLINA, MICHAEL HYNES,
      JR., SHAWN MAYER, JADE MAYER,                  Action Filed:      November 1, 2022
   22 RCI HOSPITALITY HOLDINGS, INC.,                Trial Date:        None Set
      INTEGRITY BASED MARKETING,
   23 LLC, STORM FITNESS NUTRITION,
      LLC, ULTRA COMBAT NUTRITION,
   24 LLC, ECOLOFT HOMES LLC,
      ELEVATED WELLNESS PARTNERS
   25 LLC, DOE INDIVIDUALS 1-20, and
      DOE COMPANIES 21-30,
   26
                Defendants.
   27
   28
        2514153.1
            [PROPOSED] ORDER GRANTING DEFENDANT RCI HOSPITALITY HOLDINGS, INC.’S MOTION TO
                                              DISMISS
Case 2:22-cv-07957-FLA-MAA Document 83-2 Filed 02/27/23 Page 2 of 4 Page ID #:579




    1               On February 27, 2023, Defendant RCI Hospitality Holdings, Inc. filed a
    2 Motion to Dismiss for Lack of Personal Jurisdiction, Or In The Alternative, Motion
    3 To Dismiss For Failure To State A Claim.
    4               RCI Hospitality Holdings, Inc. lacks minimum contacts with California, has
    5 not purposefully availed itself to the law and protections of California, and does not
    6 live in California. Further, Plaintiffs do not sufficiently allege a multidistrict
    7 conspiracy and/or Texas is an alternative forum under 18 U.S.C. § 1965(b) thereby
    8 negating the need to grant nationwide jurisdiction. Alternatively, Plaintiffs’
    9 improper shotgun Complaint fails to comply with Rule 8 notice requirements,
   10 Plaintiff Kayla Goedinghaus asserts no allegations against RCI Hospitality
   11 Holdings, Inc., Plaintiffs fail to allege sufficient facts to substantiate a claim for sex-
   12 trafficking and/or labor-trafficking, the RICO claims are time-barred, and the RICO
   13 claims fail to plead facts plausibly showing Defendant’s participation in an
   14 enterprise.
   15               The Court, having considered the Motion and finding good cause therefor,
   16 hereby GRANTS the Motion and ORDERS as follows: The above-captioned action
   17 as against Defendant RCI Hospitality Holdings, Inc. is dismissed.
   18               IT IS SO ORDERED.
   19
        DATED: _______________, 2023
   20
   21
   22
   23                                                Hon. Fernando L. Aenlle-Rocha
   24                                                Judge, United States District Court

   25
   26
   27
   28
        2514153.1
                                                      2
            [PROPOSED] ORDER GRANTING DEFENDANT RCI HOSPITALITY HOLDINGS, INC.’S MOTION TO
                                              DISMISS
Case 2:22-cv-07957-FLA-MAA Document 83-2 Filed 02/27/23 Page 3 of 4 Page ID #:580




    1                                      PROOF OF SERVICE
    2 JULIA HUBBARD and KAYLA GOEDINGHAUS v. TRAMMELL S. CROW,
                                         JR. et al.
    3    United States District Court -- Central District Case No. 2:22-cv-07957
    4 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
    5        At the time of service, I was over 18 years of age and not a party to this
      action. I am employed in the County of Los Angeles, State of California. My
    6 business address is 355 South Grand Avenue, Fifteenth Floor, Los Angeles, CA
      90071-1560.
    7
             On February 27, 2023, I served true copies of the following document(s)
    8 described as [PROPOSED] ORDER GRANTING DEFENDANT RCI
      HOSPITALITY HOLDINGS, INC.’S MOTION TO DISMISS FOR LACK OF
    9 PERSONAL JURISDICTION, OR IN THE ALTERNATIVE, MOTION TO
      DISMISS FOR FAILURE TO STATE A CLAIM [DKT. 83 ] on the interested
   10 parties in this action as follows:
   11                               SEE ATTACHED SERVICE LIST
   12        BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
      the document(s) with the Clerk of the Court by using the CM/ECF system.
   13 Participants in the case who are registered CM/ECF users will be served by the
      CM/ECF system. Participants in the case who are not registered CM/ECF users will
   14 be served by mail or by other means permitted by the court rules.
   15       I declare under penalty of perjury under the laws of the United States of
      America that the foregoing is true and correct and that I am employed in the office
   16 of a member of the bar of this Court at whose direction the service was made.
   17               Executed on February 27, 2023, at Los Angeles, California.
   18
   19
                                                      Chantel Y Estrada
   20
   21
   22
   23
   24
   25
   26
   27
   28
        2514153.1
            [PROPOSED] ORDER GRANTING DEFENDANT RCI HOSPITALITY HOLDINGS, INC.’S MOTION TO
                                              DISMISS
Case 2:22-cv-07957-FLA-MAA Document 83-2 Filed 02/27/23 Page 4 of 4 Page ID #:581




    1                                     SERVICE LIST
    2 JULIA HUBBARD and KAYLA GOEDINGHAUS v. TRAMMELL S. CROW, JR.
                                          et al.
    3    United States District Court -- Central District Case No. 2:22-cv-07957
    4 John G. Balestriere, Esq.                   Attorneys for PLAINTIFFS
      Matthew W. Schmidt
    5 BALESTRIERE FARIELLO                        Tel: (415) 966-2656
      225 Broadway, 29th Floor                    Fax: (212) 208-2613
    6 New York, NY 10007                          Email:
                                                  john.balestriere@balestrierefariello.com
    7                                             matthew.schmidt@balestrierefariello.com
    8
      Anastasia Mazzella, Esq.                    Attorneys for PLAINTIFFS
    9 KABATECK LLP
      633 West Fifth St., Suite 3200              Tel: (213) 217-5007
   10 Los Angeles, CA 90071                       Fax: (213) 217-5010
                                                  Email: am@kbklawyers.com
   11
   12 QUINN EMANUEL URQUHART &                    Attorneys for DEFENDANT COE
      SULLIVAN, LLP                               JURACEK
   13
      Diane Doolittle, Esq.
   14 555 Twin Dolphin Dr., 5th Floor             Tel: (650) 801-5000
      Redwood Shores, CA 94065                    Fax: (650) 801-5100
   15                                             Email::
      Alex Bergjans, Esq.
   16 865 South Figueroa St., 10th Floor
      Los Angeles, CA 90017-2543                           dianedoolittle@quinnemanuel.co
   17
                                                  m
   18 Adam J. DiClemente, Esq.
      51 Madison Ave., 22nd Floor
   19 New York, NY 10010                          Tel: (213) 443-3000
   20                                             Fax: (213) 443-3100
                                                  Email::
   21                                                     alexbergjans@quinnemanuel.co
   22                                             m

   23                                             Tel: (212) 849-7000
   24                                             Fax: (212) 849-7100
                                                  Email:
   25                                             :adamdiclemente@quinnemanuel.com
   26
   27
   28
        2514153.1
            [PROPOSED] ORDER GRANTING DEFENDANT RCI HOSPITALITY HOLDINGS, INC.’S MOTION TO
                                              DISMISS
